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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                   *      MASTER DOCKET
                                                  *      NO. 10-MD-2179
                                                  *
“DEEPWATER HORIZON” in the                        *
GULF OF MEXICO, on                                *
APRIL 20, 2010                                    *

THIS DOCUMENT RELATES TO NO. 11-02515

CONRAD CHARLES WIEGAND           *                       CIVIL ACTION NO: 11-02515
                                 *
VERSUS                           *                       SECTION: “J”
                                 *
UNITED STATES MARITIME SERVICES, *                       DIVISION: “1”
LLC and PARISH OF ST. BERNARD    *
                                 *
*****************************

                                         ORDER

       Considering the foregoing Motion for Extension of Time to File Responsive Pleadings:

       IT IS HEREBY ORDERED that the Motion for Extension of Time to File Responsive

Pleadings is GRANTED and Defendant, United States Maritime Services, Inc. (incorrectly

identified as United States Maritime Services, L.L.C.) is not required to file Responsive

Pleadings until after the stay orders from this Court contained within Pre-Trial Order No. 25

(Record Doc. No. 983) and “Case Management Order Regarding Limited Discovery and

Mediation in Connection With Vessels of Opportunity Contract Matters” (Record Doc. No.

3207) are lifted.
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  This the _______ day of January 2012.

                                     ___________________________________
                                     UNITED STATES MAGISTRATE JUDGE




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